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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JOHN VIGIL,

       Plaintiff,

       v.                                                      CIV. NO. 18-829 SCY/KBM

FRANCES TWEED, ET AL.,

       Defendants.



              ORDER FOR PARTIES TO FILE LOCAL RULE 7.4 NOTICES

       This matter comes before the Court sua sponte. The County Defendants filed a Motion to

Dismiss on December 2, 2019. Doc. 49. Plaintiff filed a late response on December 18, 2019.

Doc. 51. Absent agreement for an extension, the time for the County Defendants to file a reply

has expired. D.N.M.LR-Civ. 7.4(a). Before close of business on Friday, January 10, 2020, the

County Defendants shall file either a Local Rule 7.4(a) notice that all parties have agreed to an

extension and identifying the new deadline, a motion for additional time to file a reply, or a

Local Rule 7.4(e) notice that briefing is complete.

       Additionally, the State Defendants filed a Motion for Judgment on the Pleadings on

December 6, 2019. Plaintiff has not filed a response and, absent an extension agreement, his time

to do has expired. D.N.M.LR-Civ. 7.4(a). The State Defendants have not filed a notice of

completion of briefing. D.N.M.LR-Civ. 7.4(e). Before close of business on Friday, January 10,

2020, Plaintiff shall file either a Local Rule 7.4(a) notice that all parties have agreed to an

extension and identifying the new deadline, a motion for additional time to file his response, or a

notice that he does not intend to respond to the Motion.

       This is not the first time the Court has ordered Plaintiff to file a Local Rule 7.4 notice


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after failing to the notify the Court of an extension. Doc. 35. The Court again reminds the parties

of their duties under Local Rule 7.4. See D.N.M.LR-Civ. 7.4(a) (“For each agreed extension, the

party requesting the extension must file a notice identifying the new deadline and the document

(response or reply) to be filed.”); D.N.M.LR-Civ. 7.4(e) (“Upon completion of briefing, the

movant must file a notice certifying that the motion is ready for decision and identifying the

motion and all related filings by date of filing and docket number.”).

       IT IS SO ORDERED.




                                              _____________________________________
                                              STEVEN C. YARBROUGH
                                              UNITED STATES MAGISTRATE JUDGE
                                              Presiding by consent




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